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 8                               UNITED STATES DISTRICT COURT

 9                              NORTHERN DISTRICT OF CALIFORNIA

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11 UNITED STATES OF AMERICA                         Case No.: 4:21-cr-00429-YGR

12                 Plaintiff,                       [PROPOSED] ORDER RE DEFENDANT’S
                                                    EX PARTE APPLICATION FOR
13         v.                                       ISSUANCE OF SUBPOENA

14 RAY J. GARCIA

15                 Defendant.

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18         This matter is before the Court on the application of the Defendant for the production of
19 records and the issuance of a subpoena, pursuant to Crim. L.R. 17-2.

20         Based on the representation that the production of the proposed records is necessary for
21 the Defendant’s motion for a new trial, the Court grants the application. The proposed subpoena

22 shall issue forthwith.

23

24         Dated: December 21, 2022
                                                        Hon. Yvonne Gonzalez Rogers
25                                                      United States District Judge
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28
     [PROPOSED] ORDER RE DEFENDANT’S EX PARTE APPLICATION FOR ISSUANCE OF SUBPOENA
